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  TEXAS NORTHERN BANKRUPTCY
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        19-34054

        Highland Capital Management, L.P.

        ***6/25/2025 HEARING Part 3****



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